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 9
                                  UNITED STATES BANKRUPTCY COURT
10
11                   NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
12
      In re:                                               CASE NO.:            17-41704-CN-13
13    ROSEMARY GREENE                                      CHAPTER:             13
14                                                         R.S. NO.:            EAT-_1881___

15
                                                          MOTION FOR RELIEF FROM THE
16
                                                          AUTOMATIC STAY
17
                     Debtor.
18                                                          DATE:           January 05, 2018
                                                            TIME:           10:00 a.m.
19                                                          PLACE:          U. S. Bankruptcy Court
                                                                            Courtroom 215,
20
                                                                            1300 Clay Street
21                                                                          Oakland, CA 94612

22
             Secured Creditor, WELLS FARGO BANK, N.A. (“Movant”) hereby moves the court for an
23
24   Order Terminating Automatic Stay for cause pursuant to 11 U.S.C. Section 362(d)(1) on the grounds

25   hereafter set forth:

26           1.      On June 30, 2017, the Debtor ROSEMARY GREENE commenced this voluntary
27   Chapter 13 case in the United States Bankruptcy Court for the Northern District of California,
28
                                                         1
                                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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 1   Oakland Division, Case No. 17-41704. Martha G. Bronitsky is the duly appointed, qualified and

 2   acting Chapter 13 Trustee. The Debtor’s Chapter 13 Plan has not been confirmed.
 3
            2.      The court has subject matter jurisdiction over this Motion for Relief from the
 4
     Automatic Stay under the provisions of 28 U.S.C. Section 157(b) and 11 U.S.C. Section 362. Venue
 5
     in this court is proper under the provisions of 28 U.S.C. Sections 1408 and 1409.
 6
            3.      The Debtor’s estate includes real property commonly known as 8000 HANSOM DR.,
 7
 8   OAKLAND, CA 94605-4209 and legally described in the attached Deed of Trust.

 9          4.      Movant, its successors and assigns, is the current holder of a Promissory Note in the
10   original sum of $661,600.00 executed on or about April 25, 2007 by Debtor ROSEMARY GREENE
11
     in favor of WORLD SAVINGS BANK, FSB, A FEDERAL SAVINGS BANK. Debtor executed a
12
     promissory note secured by a mortgage or deed of trust. The promissory note is either made payable
13
     to Creditor or has been duly indorsed. Creditor, directly or through an agent, has possession of the
14
15   promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the mortgage or

16   deed of trust. The Note is secured by a Deed of Trust (“Security Instrument”) against said real

17   property recorded on April 30, 2007 as Doc. No. 2007167560 in the Office of the County Recorder of
18   Alameda County, California. The terms of the Debt Agreement were amended by the attached loan
19
     modification agreement entered into by and between Wachovia Mortgage, a division of Wells Fargo
20
     Bank, N.A. and the Debtor ROSEMARY GREENE dated May 18, 2009 (the “Loan Modification
21
     Agreement”).
22
23          5.      Pursuant to the attached Merger Movant was formerly known as World Savings Bank,

24   FSB. Effective December 31, 2007, World Savings Bank, FSB’s charter and by laws were amended

25   to change its name to Wachovia Mortgage, FSB. Effective November 1, 2009, Wachovia Mortgage,
26
     FSB converted to a national bank with the name Wells Fargo Bank Southwest Association.
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                                                         2
                                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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 1   Additionally, effective November 1, 2009, Wells Fargo Bank, National Association merged into and

 2   became a division of Wells Fargo Bank, National Association.
 3
            6.      The Debtor defaulted in her monthly payment obligations prior to bankruptcy filing,
 4
     and a Proof of Claim itemizing the Debtors’ pre-petition default has been filed. Movant’s foreclosure
 5
     trustee has commenced foreclosure proceedings by recording a Notice of Default on August 28, 2013
 6
     and a Notice of Trustee Sale was recorded December 18, 2013, and another on November 07, 2014,
 7
 8   and another on May 31, 2017. There is currently a Trustee Sale date scheduled for January 17, 2018.

 9          7.      The following chart sets forth those post-petition payments, due pursuant to the terms
10   of the Debt Agreement, that have been missed by the Debtor as of December 04, 2017:
11
        Number           From           To            Missed        Missed       Monthly        Total
12        of                                         Principal    Escrow (if     Payment       Amounts
        Missed                                          and       applicable)    Amount         Missed
13     Payments                                       Interest
14         6        07/01/2017      12/01/2017       $3,356.07    $1,135.59     $4,491.66     $26,949.96
15
                    Less post-petition partial payments (suspense balance):         ($0.00)
16                                                                              Total: $26,949.96
17          8.      Debtor’s loan was modified prior to the bankruptcy filing. As of the date of the
18   attached Declaration, Debtor is not being reviewed for a new loan modification.
19
            9.    The Debtor’s material default constitutes cause to terminate the automatic stay under 11
20
     U.S.C. Section 362(d)(1) so that Movant can progress enforcement of its contractual default remedies
21
     to foreclose upon and recover possession of the real property. See In re Ellis, 60 B.R. 432, 434-435
22
23   (9th Cir. BAP 1985).

24          WHEREFORE, Movant prays for an Order as follows:

25                  1.      For an order granting relief from the automatic stay under 11 U.S.C. Section
26   362(d)(1) to allow moving party to enforce its state law foreclosure remedies against the real property
27
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                                                         3
                                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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 1   described above and to allow the successful bidder to recover possession of said real property in

 2   accordance with applicable state laws.
 3
            2.      That the Order Granting Relief from the Automatic Stay be binding and effective
 4
     notwithstanding any conversion of this case to a case under any Chapter of Title 11 of the United States
 5
     Code without further notice, hearing, or court order.
 6
            3.      That the Order Granting Motion for Relief from the Automatic Stay be deemed
 7
 8   effective and enforceable immediately upon its entry with no stay on its enforcement as prescribed by

 9   Rule 4001(a )(3) of the Federal Rules of Bankruptcy Procedure.
10          4.      For such other relief as the court deems proper.
11
12
13
                                                             BARRETT DAFFIN FRAPPIER
14                                                           TREDER & WEISS, LLP
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16   Dated: December 18, 2017                         By: /s/BRANDYE N. FOREMAN_________
                                                          BRANDYE N. FOREMAN
17                                                        Attorney for Movant
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                                     MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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